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                                                          Rule 7, Subd. (E), Par. 6, Immigration Rules &
                                                          Regulations, and (b) he was not detained because of
143 F.2d 831, 1944 A.M.C. 1496                            breach of any of them, but solely because he failed
                                                          to have an identifying travel document in the nature
            American Maritime Cases                       of a passport as required by Executive Order 8429,
                                                          June 5, 1940, and had he had such an identifying
NATIONAL SURETY CORPORATION, Appel-                       travel document in the nature of a passport, he
                 lant.                                    would have been permitted to enter.
                  vs.
 UNITED STATES OF AMERICA, Appellee.                      “We agree with appellant that the general rule of
 UNITED STATES CIRCUIT COURT OF AP-                       law which governs the liability of sureties upon
        PEALS, FIFTH CIRCUIT                              bonds is that the surety is not liable unless the prin-
            June 20, 1944                                 cipal is, and, therefore, may plead any defense
                                                          available to the principal. But to this rule there are
                    No. 10684                             recognized exceptions. The surety is not excused
                                                          where the principal when sued takes advantage of a
                                                          matter of defense which is altogether of a personal
HUTCHESON, McCORD and WALLER, Ct. JJ.
                                                          character or where the extinction of the principal's
IMMIGRATION - 1211. Alien Seamen -. Escape                obligation arises from a cause which originates in
           -. 15. Penalties.                              the law.

Action on bond for clearance of vessel given              “The fact that the bond was given to release the
pending determination of liability for fine imposed       ship and that there was to that extent duress prac-
because of the escape of an alien seaman.                 ticed on the master was not, it could not be, set up
                                                          by the surety as a defense to the bond, because,
Defense: invalidity of notice to detain alien seaman      having voluntarily assumed the obligation of the
under Executive Order No. 8429 requiring present-         bond to pay the amount of the fine assessed and not
ation of passport as prerequisite to shore leave.         paid, the surety could not escape the obligation ex-
Held: the defendant surety may not inquire into the       cept by showing that the terms of the bond or action
validity of the order. It gave its bond voluntarily,      taken under it burdened it beyond what was legally
although the vessel was thereby released from a de-       demandable of it.
tention under duress.
                                                          “It was competent for the boarding officer to act for
The C.C.A. said in part (HUTCHESON, Ct. J.):              the Immigration Officer in charge,Lloyd Royal
                                                          Belge Societe vs. Elting, 2 Cir., 1932 A.M.C. 1499 ,
“This is a suit against a surety on a bond given to       61 F.(2d) 745.
secure the payment of a fine imposed under the pro-
visions of Sec. 20(a), Immigration Act of 1924, for       “Another subordinate point made is that the order
failure to detain on board an alien seaman after be-      was not promulgated until after the seaman had
ing required to do so.                                    sailed and to give it effect against him would be to
                                                          give it a retroactive effect not intended, and
“(a) The seaman established to the satisfaction of        Transatlantica Italiana vs. Elting, 2 Cir., 1933
the Boarding Officer at the port of arrival his full      A.M.C. 1246 , 66 F.(2d) 495, is cited in support.
compliance with the five entry requirements of            But this will not at all do, for here no effort is being




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made to fine the ship or the seaman because of his
shipping without having the required visa. The fine
was assessed not because he departed for the
United States without it, but because, without hav-
ing it, he was allowed to escape ship and enter the
United States after his detention had been ordered.“

Rehearing denied July 18, 1944.

Writ of certiorari applied for Oct. 17, 1944.

Reported in full at 143 F.(2d) 831.


DELBERT M. TIBBETTS and JOHNS WEBB
GRAHAM, for Appellant.

J. K. SMITH, Asst. U.S. Atty., for Appellee.

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